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                   IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH


IN THE MATTER OF THE
APPLICATION OF THE UNITED                           Case No. 2:23mj101-DAO
STATES FOR THE SEARCH OF:

 Silver Sky Devices cell phone,WVPD                 AFFIDAVIT
 case number WV24-7269,Evidence Tag
 #WV23395-l,and

 Blue TCL cell phone,WVPD case number               Magistrate Judge Daphne Oberg
 WV24-7269,Evidence Tag #WV23395-2.


AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR SEARCH WARRANTS

       I,Task Force Officer Michael Botelho,being duly sworn,hereby depose and state

as follows:

                INTRODUCTION AND OFFICER BACKGROUND

       1.     I make this affidavit in support on an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant authorizing the examination of

property-two cell phones-which are currently in law enforcement possession,and the

extraction from that property of electronically stored information described in

Attachment B.

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